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            IN THE UNITED STATES DISTRICT COURT
            FOR THE CENTRAL DISTRICT OF ILLINOIS
                    SPRINGFIELD DIVISION

UNITED STATES OF AMERICA,                 )
                                          )
     Plaintiff,                           )
                                          )
     v.                                   )      No. 23-cr-30031
                                          )
WARNELL REID, JR.,                        )
                                          )
     Defendant.                           )

                         OPINION AND ORDER

SUE E. MYERSCOUGH, U.S. District Judge.

     Before the Court is Defendant Warnell Reid’s Motion to

Dismiss Indictment. See Def.’s Mot. Dism., d/e 16. Earlier this

year, a grand jury indicted Mr. Reid on one count of possessing a

firearm as a felon. Relying on the “historical tradition” test set forth

in N.Y. State Rifle & Pistol Ass’n v. Bruen, 142 S. Ct. 2111 (2022),

Mr. Reid argues that the statute underlying his single-count

Indictment—18 U.S.C. § 922(g)(1), which bars people convicted of

felony offenses from possessing firearms—is unconstitutional as

applied to him. Id. at 3 (citing Bruen, 142 S. Ct. at 2129).

     Both Bruen and the Seventh Circuit’s recent decision in

Atkinson v. Garland, 70 F.4th 1018 (7th Cir. 2023), compel a “a


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proper, fulsome analysis of the historical tradition supporting” the

statute at issue here. Atkinson, 70 F.4th at 1022. Under Atkinson,

this Court must analyze every constitutional challenge to a firearms

restriction—criminal, civil, administrative, or otherwise—through

the framework set out in Bruen. Id. (“Nothing allows [courts] to

sidestep Bruen in the way the government invites.”). In other

words, this Court “must undertake the text-and-history inquiry the

[Bruen] Court so plainly announced and expounded upon at great

length.” Id. And that inquiry, according to the Supreme Court,

must proceed as follows:

          [W]hen the Second Amendment’s plain text
          covers an individual’s conduct, the Constitution
          presumptively protects that conduct.        The
          government must then justify its regulation by
          demonstrating that it is consistent with the
          Nation’s historical tradition of firearm
          regulation. Only then may a court conclude
          that the individual’s conduct falls outside the
          Second Amendment’s “unqualified command.”

Bruen, 142 S. Ct. at 2129–30.

     For further guidance, the Court directs the parties’ attention

to Atkinson, in which the Seventh Circuit proposed a set of

“interrelated and non-exhaustive questions [that] may help focus


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the proper analysis.” Atkinson, 70 F.4th at 1023. The parties’

briefing should address these questions, including:

          1. Does [§ 922(g)(1)] address a “general societal
          problem that has persisted since the 18th
          century?” Bruen, 142 S. Ct. at 2131. If this
          problem existed during a relevant historical
          period, did earlier generations address it with
          similar or “materially different means?” Id.

          2. What does history tell us about disarming
          those convicted of crimes generally and of
          felonies in particular? Among other sources,
          the parties could look to commentary from the
          Founders, proposals emerging from the states’
          constitutional ratifying conventions, any actual
          practices of disarming felons or criminals more
          generally around the time of the Founding, and
          treatment of felons outside of the gun context
          (to the extent this treatment is probative of the
          Founders’ views of the Second Amendment).
          When considering historical regulations and
          practices, the key question is whether those
          regulations and practices are comparable in
          substance to the restriction[s] imposed by [§
          922(g)(1)]. To answer the question, . . . the
          parties should consider how the breadth,
          severity, and the underlying rationale of the
          historical examples stack up against [§
          922(g)(1)].

          3. Are there broader historical analogues to [§
          922(g)(1)] during the periods that Bruen


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  emphasized, including, but not limited to, laws
  disarming “dangerous” groups other than
  felons?     The parties should not stop at
  compiling lists of historical firearms regulations
  and practices. The proper inquiry, as we have
  explained, should focus on how the substance
  of the historical examples compares to [§
  922(g)(1)].

  4. If the [parties’] historical inquiry identifies
  analogous laws, do those laws supply enough of
  a historical tradition (as opposed to isolated
  instances of regulation) to support [§ 922(g)(1)]?
  On this front, the parties should provide details
  about the enforcement, impact, or judicial
  scrutiny of these laws, to the extent possible.

  5. If history supports [Mr. Reid’s] call for
  individualized assessments or for a distinction
  between violent and non-violent felonies, how
  do we define a non-violent or a non-dangerous
  felony? And what evidence can a court consider
  in assessing whether a particular felony
  conviction was violent? For instance, can a
  court consider the felony conviction itself, the
  facts of the underlying crime, or sentencing
  enhancements?       Bruen shows that these
  distinctions should also have firm historical
  support. See 142 S. Ct. at 2132–33 (explaining
  that the court must assess whether modern and
  historical regulations are “relevantly similar,”
  including in terms of how and why the
  regulations burden gun rights).



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Atkinson, 70 F.4th at 1023–24.

     The parties should freely “cast a wider net and provide more

detail about whatever history they rely on.”1 Id. at 1024. They also

should freely employ the expert services of historians and

historiographers. See Jacob D. Charles, The Dead Hand of a Silent

Past, 73 Duke L.J. (forthcoming 2023) (manuscript at 69–70) (on file


1 On this point, the dissenting opinion in Atkinson is particularly

instructive:

     The assessment of any gun regulation should begin
     with a look at the type of measure under
     consideration: to use Professor Volokh's taxonomy, is
     it a “what, who, where, how, or when” regulation?
     Once we know that, we can begin the task of
     identifying the proper historical analogues. For
     example, felon disarmament is a “who” restriction.
     That directs us to historical restrictions on the
     classes of persons who were allowed to own or
     possess guns. In addition, one needs to look at the
     regulatory method the statute embodies: total
     disarmament for life; disarmament for a term of
     years; qualified rights to have the weapon with proper
     sureties; restrictions on particularly sensitive places
     (courthouses, churches, schools) or times or manner
     (open-carry, concealed-carry). Throughout all of this,
     one must also bear in mind that Bruen does not
     demand historical “dead ringers.” It is enough to
     identify a problem with private gun ownership and
     find the relevantly similar type of solution that was
     thought to be adequate by our forebears.

Atkinson, 70 F.4th at 1034–35 (Wood, J., dissenting).

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with author) (arguing that expert historians “can help inform a

judge about how complicated and contested the historical

landscape can be”); see also United States v. Bullock, No. 18-cr-

165, 2023 WL 4232309, at *15 (S.D. Miss. June 28, 2023) (“The

most disappointing failure is that the party with the burden to

prove history and tradition—the United States—did not designate a

historian to testify on the analogues, if any, to modern felon-in-

possession laws.”). In a similar vein, this Court will invite and

“accept amicus briefs to assist with its inquiry.” Atkinson, 70 F.4th

at 1024.

     The Government shall file its response brief by no later than

noon on September 29, 2023. Mr. Reid may file a reply brief, if

appropriate, by no later than noon on October 13, 2023.

IT IS SO ORDERED.

ENTERED: AUGUST 31, 2023

FOR THE COURT:


                           s/ Sue E. Myerscough
                           SUE E. MYERSCOUGH
                           UNITED STATES DISTRICT JUDGE




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